                                                                                   Case 2:14-cv-04077-PA-AJW Document 82 Filed 06/29/15 Page 1 of 3 Page ID #:6446



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                                                                                     6   Facsimile: 949.622.2739
                                                                                     7   Attorneys for Plaintiffs
                                                                                         BILL A. BUSBICE, JR., OLLA PRODUCTIONS,
                                                                                     8   LLC, and ECIBSUB, LLC
                                                                                     9                         UNITED STATES DISTRICT COURT
                                                                                    10                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                    11                                 WESTERN DIVISION
T ROUTMAN S ANDERS LLP




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                                                                                    13   BILL A. BUSBICE, JR., an individual;         Case No. CV 14-4077 PA (AJWx)
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                                                                                         OLLA PRODUCTIONS, LLC, a limited             consolidated with CV 14-7063 PA
                                                                                    14   liability company; and ECIBSUB, LLC,         (AJWx)
                                                                                         a limited liability company,
                                                                                    15                                                Magistrate Judge Andrew J. Wistrich
                                                                                                         Plaintiffs,
                                                                                    16
                                                                                                    v.                                PLAINTIFFS’ NOTICE OF
                                                                                    17                                                MOTION AND MOTION TO
                                                                                         JAMES DAVID WILLIAMS, an                     COMPEL AND REQUEST FOR
                                                                                    18   individual; et al.,                          SANCTIONS PURSUANT TO
                                                                                                                                      RULE 37
                                                                                    19                   Defendants.
                                                                                    20                                                Date:    July 27, 2015
                                                                                         AND RELATED CONSOLIDATED                     Time:    10:00 a.m.
                                                                                    21   ACTION.                                      Place:   Courtroom 690
                                                                                    22
                                                                                                                                      Discovery Cut-off: July 27, 2015
                                                                                    23                                                Pre-Trial Conf.: September 4, 2015
                                                                                                                                      Trial Date: October 6, 2015
                                                                                    24
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                                                                                         26240127
                                                                                              PLAINTIFFS’ MOTION TO COMPEL AND REQUEST FOR SANCTIONS PURSUANT TO RULE 37
                                                                                   Case 2:14-cv-04077-PA-AJW Document 82 Filed 06/29/15 Page 2 of 3 Page ID #:6447



                                                                                     1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                                                     2              PLEASE TAKE NOTICE that on July 27, 2015, at 10:00 a.m., or as soon
                                                                                     3   thereafter as counsel may be heard in the above-entitled Court, located at 255 East
                                                                                     4   Temple Street, Los Angeles, California 90012, Plaintiffs Bill A. Busbice, Jr., Olla
                                                                                     5   Productions, LLC, and Ecibsub, LLC (collectively, “Plaintiffs”), pursuant to Rule
                                                                                     6   37 of the Federal Rules of Civil Procedure, will and hereby do move the Court for
                                                                                     7   an order:
                                                                                     8               1. Striking the answers of Defendants Steven J. Brown (“Brown”); Garuda
                                                                                     9                   Partners, Ltd. (“Garuda”); Highgate Pass, LLC (“Highgate”), Bipartisan
                                                                                    10                   Coalition for American Security Corporation (“Bipartisan”), Moment
                                                                                    11                   Factory, LLC (“Moment Factory”), Luxe One, Inc. (“Luxe One”) and
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                                                                                    12                   Legacy Film Crest, LLC (“Legacy”), and entering their defaults;
                                                        I RVINE , CA 92614 -2545
                         5 P ARK P LAZA




                                                                                    13               2. Imposing monetary sanctions, jointly and severally, in an amount not
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                                                                                    14                   less than $13,950 against each of those parties and their counsel, John
                                                                                    15                   G. Burgee, Esq. of Burgee & Abramoff, P.C;
                                                                                    16               3. Ordering Brown to provide complete, full and proper responses to
                                                                                    17                   Plaintiffs’ Interrogatories Nos. 1, 3-6, 21-25;
                                                                                    18               4. Precluding Defendants Gerald Seppala (“Seppala”), Visions LLC
                                                                                    19                   (“Visions”), Barry J. Reiss (“Reiss”), Legacy, Moment Factory, Luxe
                                                                                    20                   One, Brown, Garuda, Highgate and Bipartisan from defending
                                                                                    21                   Plaintiffs’ claims by reference to documents that have not been
                                                                                    22                   produced in this action;
                                                                                    23               5. Any further sanctions or relief that the Court deems just.1
                                                                                    24              Plaintiffs’ motion is based upon this Notice of Motion and Motion to
                                                                                    25   Compel, the accompanying Memorandum of Points and Authorities, and the
                                                                                    26   concurrently-filed Declaration of Thomas H. Prouty (“Prouty Declaration”), and all
                                                                                    27
                                                                                         1
                                                                                          Due to Defendant James David Williams’ recent bankruptcy filing, this Motion
                                                                                    28   does not seek sanctions against Williams personally.
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                                                                                              PLAINTIFFS’ MOTION TO COMPEL AND REQUEST FOR SANCTIONS PURSUANT TO RULE 37
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                                                                                     1   pleadings and papers on file in this action, and upon such other matters and
                                                                                     2   arguments as may be presented to the Court prior to and at the time of the hearing.
                                                                                     3              This Motion is made following good faith meet and confer efforts made by
                                                                                     4   Plaintiffs, as well as Plaintiffs’ compliance with the pre-filing conference of
                                                                                     5   counsel and preparation of joint stipulation requirements contained in Local Rule
                                                                                     6   37. Defendants failed to provide their portions of the joint stipulation prepared by
                                                                                     7   Plaintiffs in accordance with L.R. 37-2.2.
                                                                                     8
                                                                                     9   Dated: June 29, 2015                         Respectfully submitted,
                                                                                    10                                                TROUTMAN SANDERS LLP
                                                                                    11
T ROUTMAN S ANDERS LLP




                                                                                    12                                                By: /s/ Thomas H. Prouty
                                                        I RVINE , CA 92614 -2545




                                                                                                                                        Paul L. Gale
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                                                                                                                                        Siavash Daniel Rashtian
                                                                                                                                        Thomas H. Prouty
                                                                                    14
                                                                                                                                          Attorneys for Plaintiffs
                                                                                    15                                                    BILL A. BUSBICE, JR., OLLA
                                                                                                                                          PRODUCTIONS, LLC, and
                                                                                    16                                                    ECIBSUB, LLC
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                                                                                              PLAINTIFFS’ MOTION TO COMPEL AND REQUEST FOR SANCTIONS PURSUANT TO RULE 37
